                   Case 1:22-cv-02940-DLF Document 8 Filed 12/19/22 Page 1 of 1
                                                                                                                     CO 226
                                                                                                                 Rev. /2018


                   UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                            FOR THE DISTRICT OF COLUMBIA

Nieman, et al.

_________________________________________
                        Plaintiff(s)

       vs.                                                             Civil Action No.: 1:22-cv-2940
Islamic Republic of Iran

_________________________________________
                        Defendant(s)


                              AFFIDAVIT REQUESTING FOREIGN MAILING

       I, the undersigned, counsel of record for plaintiff(s), hereby request that the Clerk mail a copy of the
summons and
summons andcomplaint
            complaint (and notice of suit, where applicable) to (list name(s) and address(es) of defendants):
The Islamic Republic of Iran via diplomatic service, U.S. Department of State, c/o Jared N. Hess, Esquire, Office of Legal
Affairs, Overseas Citizen Services, Bureau of Consular Affairs, CA/OCS/L, SA-17, 10th Floor, Washington, DC
20522-1710




by: (check one)                ެ      FHUWLILHGRUregistered mail, return receipt requested
                               ެ      DHL
                               ެ✔     Fed Ex
pursuant to the provisions of: (check one)
                               ެ      FRCP 4(f)(2)(C)(ii)
                               ެ      28 U.S.C. § 1608(a)(3)
                               ެ      28 U.S.C. § 1608(b)(3)(B)
                               ެ✔     28 U.S.C. § 1608(a)(4)

        I certify that this method of service is authorized by the domestic law of (name of country):
 United States of America, Foreign Sovereign Immunities Act, 28 USC 1608(a)(4 , and that I obtained this information
by contacting the Overseas Citizens Services, U.S. Department of State.

                                                                           /s Joshua M. Ambush
                                                                                 (Signature)
                                                                Joshua M. Ambush
                                                                Law Offices of Joshua M. Ambush, LLC
                                                                106 Old Court Road, Suite 303
                                                                Baltimore, MD 21208


                                                                             (Name and Address)
